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AO I 06 (Rev. 04/10) Application for a Search Warrant



                                           UNITED STATES DISTRICT COURT
                                                                           for the
                                                                     District of Oregon

               In the Matter of the Search of
          (Briefly describe the property to be searched
           or identify the person by name and address)
                                                                              )
                                                                              )
                                                                              )           Case No.
                                                                                                                              ..
A blue 2005 Mazda 3, Oregon Temporary Tag A761408,                            )
  VIN: JM1BK1230512205080, as further described in                            )
                   Attachment A                                               )

                                                  APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under ...,,
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the f;;
prJJ.JJero;.. (Q be, searcl7ed and give its location):                                    ·               ·                                  1~1
  ;:1ee nttacnment A.                                                                                                                      · i....:..
                                                                                                                                             ,.

located in the                                           District of _ _ _ _ _O_re~g~o_n_ _ _ _ _ , there is now concealed (identify the     .~...,....
                                                                                                                                             1:.0
person or describe the property to be seized):                                                                                               .........
 The information and items set forth in Attachment B hereto.                                                                                 ·::0
                                                                                                                                           -(,)
                                                                                                                                              CD
                                                                                                                                               ·~=
                                                                                                                                               •?
           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):                                                      ii;:
                                                                                                                                               '"..;
                   r'lf evidence of a crime;
                   ref contraband, fruits of crime, or other items illegally possessed;
                   iY! property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
            Code Section                                                                  Offense Description
        U.S.C. 2113(a)                                    Bank Robbery



          The application is based on these facts:
         See affidavit which is attached hereto and incorporated herein by this reference.


            ~ Continued on the attached sheet.
            0 Delayed notice of          days (give exact ending date if more than 30 days: - - - - - - ) is requested
              under 18 U. S.C. § 3 I 03a, the basis of which is set forth on the attac ed sheet.




Sworn to before me and signed in my presence.




City and state: Portland, Oregon                                                      Paul J. Papak, United States Magistrate Judge
                                                                                                     Printed name and title
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DISTRICT OF OREGON, ss:                AFFIDAVIT OF Phillip Garcia

                              Affidavit in Support of an Application
                              Under Rule 41 for a Search Warrant

         I, Phillip Garcia, being duly sworn, do hereby depose and state as follows:

                           Introduction and Agent Background

         1.     I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and have

been since March 2017. I am currently assigned to the Violent Crimes Unit where I investigate

violations of federal law, specifically bank robberies, fugitives, and other violent crime. Prior to

joining the FBI, I was a Police Officer in Dallas and Grand Prairie, Texas for approximately six

years.

         2.     I submit this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search a blue Mazda 3 bearing Oregon Temporary

Tag A 761408 ("the Vehicle") as described in Attachment A hereto, for evidence, contraband,

fruits, and instrumentalities of violations of 18 U.S.C. § 2113(a) (Bank Robbery), as outlined in

Attachment B. As set forth below, I have probable cause to believe that such property and items,

as described in Attachment B, are currently located in the Vehicle.

         3.     This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter. The facts

set forth in this affidavit are based on my own personal knowledge, knowledge obtained from

other individuals during my participation in this investigation, including other law enforcement

officers, interviews of witnesses, a review of records related to this investigation,

communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.
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                                         Applicable Law

       4.      Title 18 U.S.C. § 2113(a), provides that it is a felony crime for a person to use

force and violence, or intimidation, to take or attempt to take, from the person or presence of

another, any property or money or any other thing of value belonging to, or in the care, custody,

control, management, or possession of, any bank, credit union, or any savings and loan

association, as defined by statute.

                                  Statement of Probable Cause·

       5.      On January 4, 2018 at approximately 11:09 a.m:., an unknown subject robbed the

Albina Community Bank located at 2002 NE Martin Luther King Jr Blvd, Portland, Oregon, and

provided the victim teller a demand note stating, "No tracers, no dye, no alarm, all money in the

bottom drawer now, I will shoot fast." Moments later, the robber told the victim teller, "If you

don't hurry up, I'm gonna shoot you" while brandishing a black semi-automatic pistol in his

waistband. The victim teller surrendered $1,200 from her station and the robber exited the bank

northbound on foot. The robber was described as a black male, approximately 5' 1O" and 180

pounds, wearing a "puffy" dark navy jacket with a fur lined hood, light colored blue jeans, and

white tennis shoes.

       6.      Soon afterwards, investigators received a tip from a witness who was near the

bank at the time of the robbery and who observed an unknown male wearing the same clothing

as the bank robber exit the passenger seat of a blue Mazda that was parked in the 400 block of

NE Tillamook St., near the time of the robbery. The witness described the event as suspicious

due to the robber's clothing and the fact he appeared to be trying to conceal himself.




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       7.     Nearby surveillance cameras corroborated the tip and revealed a blue Mazda

arrive and park in the 400 block of NE Tillamook St., minutes before the bank robbery. Shortly

after arriving, the robber is observed exiting the passenger seat of the Mazda and walking on

Martin Luther King JR. Blvd., towards the Albina Community Bank. Within two minutes, the

robber is observed walking back to the blue Mazda and entering the passenger seat. The vehicle

then fled the scene eastbound on NE Tillamook St. A review of the surveillance video also

showed the Mazda having body damage to the driver's side, front left comer.

       8.     On January 5, 2018, FBI Special Agent Garcia released an information bulletin to

the Portland Police Bureau containing surveillance images of the robber and suspect vehicle.

       9.     That same day, Special Agent Garcia received information from Portland Police

Officer Zach Delong ("DeLong") regarding a possible owner of the Mazda. Officer DeLong

stated in September of 2017,he responded to a suspicious call regarding a dark blue Mazda 3.

After running the vehicle identification number ("VIN"), DeLong found the vehicle was

registered to Walter Kelsaw ("Kelsaw"). DeLong remembered the vehicle having body

damage, but could not remember the extent.

       10.     SA Garcia searched law enforcement databases and found archived police

reports involving WALTER KELSAW. SA Garcia located the hit and run report filed with the

Portland Police Bureau on November 14, 2017. The report listed Kelsaw as a suspect in the hit

and run accident and provided his vehicle information. The report, listed Kelsaw's Parole and

Probation Officer as Alan Trautwein ("Trautwein").

       11.    SA Garcia contacted Trautwein and learned that Kelsaw was still on post-prison

supervision and location monitoring through use of a GPS ankle monitor. Trautwein provided


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Kelsaw's GPS location on January 4, 2018 from 8:00 a.m. through 3:00 p.m. At the time of the

robbery, approximately J 1:05 a.m., Kelsaw's ankle monitor was pinging in the area of 425 NE

Tillamook St., Portland, which is approximately 200 feet from the Albina Community Bank and

the same area in which the blue Mazda was seen on surveillance video parked in the 400 block of

NE Tillamook St.

        12.     On April 26, 2018, Special Agent Garcia and Special Agent Lisa Miller contacted

Trautwein who advised investigators that he was scheduled to meet with Kelsaw for a routine

check-in. Special Agent Garcia and Miller arrived at the Multnomah County Probation and

Parole Officer located at 421 SW,5 1h St, Portland, Oregon and asked to speak with Kelsaw

regarding the investigation. Kelsaw agreed to speak with agents and answer questions.

       13.      During the interview, Kelsaw admitted to driving a motor vehicle even though his

license and registration were suspended and he is prohibited from driving as a condition of his

release. Kelsaw was also shown a photograph of a suspect vehicle involved in the robbery of

Albina Bank and stated, "That's my car." When questioned further about the robbery, Kelsaw

declined to answer any further questions without a lawyer.

       14.      Shortly after, Special Agent Garcia arrested Kelsaw for aiding and abetting the

commission of bank robbery and transported him to the Multnomah County Detention Center..

       15. ·    During the investigation, SA Garcia listened to a phone call made by Kelsaw from

the Multnomah County Jail on June 2, 2018. In this phone call, Kelsaw asked a female

identified as Elaina Hanks if his vehicle was still at his brother's house. Task Force Officer Brett

Hawkinson searched law enforcement databases for reports involving Veta Shamsud-Din

(Kelsaw's mother). TFO Hawkinson determined that a subject identified as Rashid Allen was


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arrested from Veta's residence in 1992. Steve Allen was listed as Veta's domestic partner

therefore investigators believed Rashid Allen was the brother of Kelsaw. TFO Hawkinson then

located an address for Rashid as 8402 NE 81h way Apartment #21, Vancouver, Washington,

98664. On June 2, 2018, Special Agent Garcia and TFO Hawkinson responded to 8402 NE 81h

Way and found Kelsaw's vehicle parked on the north side of the public street in the 8400 block

of NE 81h Way, Vancouver, Washington. SA Garcia observed that the vehicle still had damage

on the front left comer of the vehicle consistent with the surveillances images from the robbery

on January 4, 2018, and was bearing Oregon Temporary tag A761408. The vehicle also had an

"O" for the University of Oregon, displayed in the center back window which can also be scene

on the surveillance images. Special Agent Garcia walked past the vehicle and could see inside

the vehicle in plain view large amounts of clothing in the backseat.

       16.     On June 19, 2018, agents obtained a seizure warrant out of the Western District of

Washington. The Vehicle was subsequently towed to the Portland Police Bureau Rivergate

Vehicle Storage located at 7027 NW St. Helens Road Portland, OR 97210 in anticipation of

obtaining this search warrant.

                                           Conclusion

       17.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Walter Kelsaw committed the crime of Bank Robbery in violation of 18 U.S.C. § 21 l3(a), and

that evidence of the offense, as described in Attachment B, is presently located in the Vehicle,

which is described in Attachment A. I therefore respectfully request that the Court issue a

warrant authorizing a search of the Vehicle described in Attachment A, for the items listed in

Attachment B, and the seizure of any such items found.


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        18.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested search warrant were all reviewed by Assistant United States

Attorney John Brassell. AUSA Brassell advised me that in his opinion the affidavit and

application are legally and factually sufficient to establish probable cause to support the issuance

of the requested warrant.

                                        Request for Sealing

        19.     It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested search warrant, including the

application, this affidavit, the attachments, and the requested search. warrant. I believe that

sealing these documents is necessary because the information to be seized is relevant to an

ongoing investigation, and any disclosure of the information at this time may cause flight from

prosecution, cause destruction of or tampering with evidence, cause intimidation of potential

witnesses, or otherwise seriously jeopardize an investigation. Premature disclosure of the

contents of the application, this affidavit, the attachments, and the requested search warrant may

adversely affect the integrity of the investigation.

                                                                                           =
                                                       Phillip Garcia
                                                       Special Agent, FBI




                                                       United States Magistrate Judge




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                                      ATTACHMENT A

                                   Property to Be Searched

       A blue 2005 Mazda 3- four door, VIN: JM1BK123051220580, Oregon Temporary Tag:

A761408, referred to as (The "Vehicle"). The vehicle is in the custody of the Portland Police

Bureau Rivergate Vehicle Storage located at 7027 NW St. Helens Road Portland, OR 97210.
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                                       ATTACHMENT B

                                       Items to Be Seized

       The items to be searched for, seized, and examined, are in the 2005 blue Mazda 3, VIN:

JM1BK123051220580, Oregon Temporary Tag: A761408, currently in the custody of the

Portland Police Bureau Rivergate Vehicle Storage located at 7027 NW St. Helens Road Portland,

OR 97210, referenced in Attachment A. The Vehicle is to be searched for evidence, contraband,

fruits and instrumentalities of violations of Bank Robbery, in violation of 18 U.S.C. § 2113(a),

including:

       1.      Light colored blue jeans with tears, white tennis .shoes, a blue puffy jacket with

               fur around the hood, any black scarfs or concealing garments, as seen worn by the

               "robber" on January 4, 2018;

       2.      Any firearms or other weapons;

       3.      Any phones or electronic devices that may contain geolocation data;

       4.      Any receipts for purchases which may indicate location through time and date

               stamps;

       5.      Any items, documents, or records indicating ownership or control of contents

               located inside the vehicle; and

       6.      Any items, documents, or records indicating ownership or control of the vehicle;

               and

       7.      Fingerprint and DNA evidence.




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